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6

7
                             IN THE UNITED STATES DISTRICT COURT
8                                     DISTRICT OF NEVADA
9
     WINNER’S SUN PLASTIC & ELECTRONIC
10
     (SHENZHEN) CO. LTD., a Chinese Limited
     Company,                                             NO.: 2:19-cv-00980-RFB-DJA
11

                    Plaintiff,                            ORDER ENTERING FINAL
12
                                                          DEFAULT JUDGMENT
13          vs.

14   THE PARTNERSHIPS and
     UNINCORPORATED ASSOCIATIONS
15   IDENTIFIED ON SCHEDULE “B”,

16                  Defendants.

17

18
            Before the Court is Plaintiff’s motion for the Court to enter final default judgment. The
19

20
     Court, having reviewed the records and files herein; specifically:

21          1. Winner’s Motion;

22          2. Pleadings and papers on file or cited to within this briefing;

23          3. All declarations and exhibits attached thereto filed in support of 1-2;

24          4. ______________________________________________________________.
25


                                                      1

     [PROPOSED] ORDER ENTERING                                      BAYRAMOGLU LAW OFFICES LLC
     FINAL DEFAULT JUDGMENT                                    1540 WEST WARM SPRINGS ROAD, SUITE 100
                                                                      HENDERSON, NEVADA 89014
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1           5.
2                 Defendant                Lost Profits Damages        Total Enhanced Damages
3
           Ausemk (Sold by Shiida)                $1,746.00                      $5,238.00
4
                  BestTrendy                      $4,086.00                     $12,258.00
5
                    BitSaint                       $606.00                       $1,818.00
6
            BZE (Sold by Bestzoe)                 $1,605.00                      $4,815.00
7
         CamKix (Sold by Eco-Fused)             $158,373.00                     $475,119.00
8

9        Dokro (Sold by Kcooldirect)               $78.00                         $234.00

10     ELEGIANT (Sold by Furmoeresa)             $36,045.00                     $108,135.00

11               SELFIECOM                        $4,365.00                     $13,095.00

12                   Teeck                        $9,351.00                     $28,053.00
13
       TimeLED (Sold by Imake Direct)             $4,119.00                     $12,357.00
14
         TNT (Sold by Peter Wombat)               $5,652.00                     $16,956.00
15
           Vvtan (Sold by Jackbaba)               $2,778.00                      $8,334.00
16
                   Youquee                        $1,779.00                      $5,337.00
17
          Joint and Several Liability             $230,583                      $691,749.00
18

19

20          The Court, having reviewed the briefing, records and supporting documents filed in

21   regard to Plaintiff’s Motion, hereby GRANTS this motion.

22          In view thereof, now therefore it is hereby ORDERED that:

23          1) An entry of an award in the amount of $691,749.00 jointly and severally against the
24
     Defaulted Defendants from which monetary damages are hereby sought.
25


                                                   2

     [PROPOSED] ORDER ENTERING                                   BAYRAMOGLU LAW OFFICES LLC
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1           2) An entry of an award of attorney’s fees in the amount of $35,673.00 jointly and
2    severally against the Defaulted Defendants from which monetary damages are hereby sought.
3
            3) An award of $56,050.65 jointly and severally against the Defaulted Defendants from
4
     which monetary damages are hereby sought based on 10% interest per annum for one and one-
5
     half (1½) years on the $691,749.00 damages awarded.
6
            4) Amazon and eBay shall freeze any accounts of the listed defendants and prevent any
7
     future sales of selfie sticks for those accounts;
8
            5) Amazon and eBay shall freeze any monies in the eBay and Amazon accounts and
9

10
     transfer to Winner or Winner’s counsel the awarded damages for the Defaulted Defendants’

11   infringing accounts to satisfy the above money damages;

12          6) An entry of a permanent injunction as to each and every Defaulted Defendant for the

13   removal of the infringing accounts from Amazon and/or eBay.

14          7) Said Defendants and their officers, affiliates, agents, and employees are hereby
15
     enjoined from:
16
            a.        using the Winner Designs or any reproductions, counterfeit copies, or colorable
17
            imitations thereof in any manner in connection with the distribution, marketing,
18
            advertising, offering for sale, or sale of any product that is not a genuine Winner product
19
            or is not authorized by Plaintiff to be sold in connection with the Winner Patents;
20
            b.        passing off, inducing, or enabling others to sell or pass off any product as a
21
            genuine Winner product or any other product produced by Plaintiff that is not Plaintiff’s
22

23          or not produced under the authorization, control, or supervisions of Plaintiff and

24          approved by Plaintiff for sale under the Winner Patents;

25          c.        further infringing the Winner Patents and damaging Plaintiff’s goodwill;

                                                         3

     [PROPOSED] ORDER ENTERING                                     BAYRAMOGLU LAW OFFICES LLC
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1            d.     otherwise competing unfairly with Plaintiff in any manner;
2            e.     shipping, delivering, holding for sale, transferring or otherwise moving, storing,
3
             distributing, returning, or otherwise disposing of, in any manner, products or inventory
4
             not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for
5
             sale, and which bear any Plaintiff design, including the Winner patents, or any
6
             reproductions, counterfeit copies, or colorable imitations thereof;
7
             f.     using, linking to, transferring, selling, exercising control over, or otherwise
8
             owning the Online Marketplace Accounts or any other online marketplace account that is
9

10
             being used to sell or is the means by which Defendant could continue to sell infringing

11           Winner products; and

12           g.     operating and/or hosting any website or marketplace account for or on behalf of

13           Defendant that is involved with the distribution, marketing, advertising, offering for sale,

14           or sale of any product bearing the Winner designs and patent or any reproduction,
15
             counterfeit copy of colorable imitation thereof that is not a genuine Winner product or not
16
             authorized by Plaintiff to be sold in connection with the Winner patents.
17
             8) Said Defendants and their officers, affiliates, agents, and employees and any third
18
     parties receiving actual notice of this order—including any credit card companies, banks, or
19
     payment processors—shall, within five busines days of receipt of such notice, provide to
20
     Plaintiff:
21
             a.     the identities and all contact information related to the Defendants, and any
22

23           entities having any ownership or control over the marketplace stores operating by the

24           Defendants, and any other accounts under the operation or control of the individuals

25


                                                      4

     [PROPOSED] ORDER ENTERING                                      BAYRAMOGLU LAW OFFICES LLC
     FINAL DEFAULT JUDGMENT                                    1540 WEST WARM SPRINGS ROAD, SUITE 100
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1           operating the foregoing accounts, including all known contact information and associated
2           e-mail addresses;
3
            b.      the nature of Defendants’ operations and all associated sales, method of payment
4
            for services and financial information, including without limitation, identifying
5
            information associated with the Online Marketplaces, Domain Names, and Defendants’
6
            financial accounts, as well as providing a full accounting of Defendants’ sales and listing
7
            history related to their respective Online Marketplaces and Domain Names; and
8
            c.      any financial accounts owned or controlled by Defendants, including their agents,
9

10
            servants, employees, confederates, attorneys, and any persons acting in concert or

11          participation with them, including such accounts residing with or under the control of any

12          banks, savings and loan associations, payment processors or other financial institutions,

13          including, without limitation, PayPal, Alipay, Wish.com, Amazon Pay, or other merchant

14          account providers, payment providers, third party processors, and credit card associations
15
            (e.g. Mastercard and VISA).
16
            9) Said Defendants and any third parties with actual notice shall, within five business
17
     days after receipt of such notice, disable any and all accounts and/or services used by the
18
     Defendant to market, advertise, sell and/or offer to sale any goods in conjunction with the
19
     Winner patents, including any counterfeit goods or colorable imitations thereof.
20
            10) Said Defendants and their officers, affiliates, agents, and employees shall be
21
     restraining and enjoined from transferring or disposing of any monies or assets until the
22

23   monetary damages in the judgement herein are satisfied.

24          11) Any Third Party Providers, including PayPal, Inc. (“PayPal”), Alipay, Wish.com, and

25   Amazon Pay, shall, within five (5) business days of receipt of this Order:

                                                     5

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1          a.     locate all accounts and funds connected to Defendants’ Seller Aliases, Online

2          Marketplaces and Domain Names, including, but not limited to, any financial accounts
3          connected to the information listed in Schedule B hereto, the e-mail addresses identified,
4
           and any e-mail addressed provided for Defendants by third parties; and
5
           b.     restrain and enjoin any such accounts or funds from transferring or disposing of
6
           any money or other of Defendants’ assets until full satisfaction of the monetary damages
7
           contained herein.
8

9
            IT IS SO ORDERED.
10

11         Dated this 15th day of November, 2021

12                                                                     ______________________
                                                                       Hon. Richard F. Boulware
13                                                                     United States District Judge

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                                                   6

     [PROPOSED] ORDER ENTERING                                  BAYRAMOGLU LAW OFFICES LLC
     FINAL DEFAULT JUDGMENT                                1540 WEST WARM SPRINGS ROAD, SUITE 100
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